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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 American Library Association, et al.,

                        Plaintiffs,

                v.                                        Case No. 1:25-cv-01050

 Keith Sonderling, et al.,

                        Defendants.




PLAINTIFFS’ MOTION FOR LEAVE TO RESPOND TO DEFENDANTS’ OBJECTION
 TO AN EXTENSION OF THE COURT’S TEMPORARY RETRAINING ORDER AND
                       PLAINTIFFS’ RESPONSE

       Pursuant to Local Civil Rule 65.1(c), Plaintiffs respectfully move for leave to respond to

Defendants’ objection to an extension of the Court’s temporary restraining order (TRO). Counsel

for Plaintiffs has conferred with counsel for the Defendants as required by Local Civil Rule 7(m).

Defendants do not oppose this motion. A proposed order is attached.

       The Court is familiar with the procedural history of this case. On May 21, 2025, the Court

ordered the parties to inform the Court whether they consent to extending the TRO until the Court

rules on the pending motion for a preliminary injunction or this case is otherwise resolved. Min.

Order (May 21, 2025). Plaintiffs consented to extending the TRO. ECF 43 (May 23, 2025).

Defendants objected to the Court’s proposed extension of the TRO, but in addition to simply stating

their position and the reason for it, they submitted a new declaration by Defendant Sonderling.

ECF 44 (May 23, 2025). This is the first evidence Defendants have provided the Court, despite the

substantial opportunities for briefing to date, and accordingly, Plaintiffs seek leave to respond to

this exhibit and its associated arguments. Plaintiffs additionally wish to inform the Court of recent
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orders issued by the D.C. Circuit en banc in Widakuswara v. Lake and related appeals.

                                          RESPONSE

       First, without explanation, Defendants attached to their objection a declaration by

Defendant Sonderling (ECF 44-3), also submitted in the Rhode Island litigation, No. 25-cv-128,

ECF 63-1. But this declaration raises more questions than it answers. Notably, Defendant

Sonderling implicitly threatens IMLS employees for exercising their First Amendment rights. ECF

44-3 ¶ 13. To the extent that Defendants are asking the Court to credit their assertions about

operating IMLS consistent with the law, see, e.g., ECF 21 at 16 (relying on Executive Order

14,238’s statement that IMLS’s reduction be “consistent with applicable law”), his statement

creates additional cause for doubt.

       Further, the point for which Defendants appear to have submitted the declaration—their

resumption of the Grants to States program—does not obviate the need for injunctive relief. First,

doing so after the initiation of litigation does not escape liability even on that particular grant

program. Nat’l Council of Nonprofits v. Off. of Mgmt. & Budget (“NCN”), 763 F. Supp. 3d 36, 49

(D.D.C. 2025). Further, there is copious evidence that IMLS has stopped performing its other work

required by statute or regulation, including halting the grant reimbursement process, eliminating

the National Museum and Library Services Board, stopping the collection of data, and rendering

itself unable to review grant termination decisions consistent with its own terms and conditions.

See Albright Decl. ¶¶ 1, 17–20; Supp. Albright Decl. ¶ 6; Fournier Decl. ¶¶ 4, 8–9; Neal Decl. ¶ 7.

Defendant Sonderling’s declaration—the first evidence from Defendants in this matter—does not

address the vast majority of these issues. Nor do Defendants explain how terminating all but “one

competitive grant . . . per statutory program,” id. ¶ 10, complies with Congress’s directive for

IMLS to issue the competitive grants.




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        As such, the decision in Carter v. U.S. Department of Education, No. 25-cv-0744, Dkt. No.

68 (D.D.C. May 21, 2025), should not impact the Court’s assessment of the likelihood of success

on the merits. To the extent this Court finds that decision persuasive, it is distinguishable. In Carter,

the court found the plaintiffs had not offered sufficient evidence demonstrating that the Department

of Education’s Office of Civil Rights failed to perform any statutory or regulatory duties. That

court distinguished—but did not express disagreement with—the decision granting a preliminary

injunction in National Treasury Employees Union v. Vought, where the plaintiffs had shown an

agency stopped performing statutorily mandated work. Id. at 14–16. As in NTEU, and unlike

Carter, Plaintiffs have made that showing.

        Third, the existence of a preliminary injunction in Rhode Island v. Trump that reinstates

terminated grants and restores employees from administrative leave does not eliminate the need

for a preliminary injunctive order here to protect Plaintiffs’ interests. As Defendants admit, they

are currently seeking to stay the Rhode Island injunction, creating great uncertainty as to its

continued existence. Further, Plaintiffs are not parties to the Rhode Island litigation and are,

accordingly, unable to represent their interests in that litigation or defend it on appeal. This Court

independently determined that the TRO was warranted, and it should remain in place until the

Court decides the pending motion for a preliminary injunction or this case is otherwise resolved.

See NCN, 763 F. Supp. 3d at 57 (granting TRO where TRO issued by another court was already in

effect, and citing case law).

        Finally, Defendants point out that in Widakuswara v. Lake, the D.C. Circuit denied the

request for en banc reconsideration with respect to the portion of the district court’s injunction

requiring the restoration of agency employees and contractors. Order, No. 25-5144 (D.C. Cir. May

22, 2025). However, on May 28, 2025, Chief Judge Srinivasan issued a statement, joined by six




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other members of the en banc panel, indicating that the district court may have jurisdiction to order

personnel actions necessary or appropriate to carry out the agency’s statutory mandate under the

provisions of the district court’s order still in force—even beyond those that the government itself

determines are necessary. Order, No. 25-5145, Doc. #2117869 (D.C. Cir. May 28, 2025). Chief

Judge Srinivasan instructed that the district court should consider that issue in the first instance.

Id. Later the same day, the en banc court granted reconsideration with respect to the portion of the

district court’s preliminary injunction requiring the agency to restore grants it had terminated and

denied the government’s motion for a stay pending appeal. Order, Nos. 25-5150, 25-5151, Doc.

#2117911, at 2 (D.C. Cir. May 28, 2025). These decisions by the D.C. Circuit en banc reinforce

this Court’s jurisdiction to grant a preliminary injunction in this case and support Plaintiffs’

arguments that preliminary injunctive relief is warranted here.

                                         CONCLUSION

       For the foregoing reasons, the Court should grant Plaintiffs’ motion to file this Response.




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